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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KARTHIK KARUPPASAMY,

                           Plaintiff,

                    – against –                                         ORDER

UNITED STATES CITIZENSHIP AND                                      20 Civ. 7823 (ER)
IMMIGRATION SERVICES and TATYANA
ZEMSKOVA,

                           Defendants.


RAMOS, D.J.:
         On July 3, 2020, Karthik Karuppasamy, pro se, brought this action against the United

States Citizenship and Immigration Services (“USCIS”) and Tatyana Zemskova in New York

County Supreme Court. Doc. 3-1. On September 24, USCIS removed the case to federal court.

Doc. 3. On September 30, USCIS requested that the Court schedule a premotion conference

regarding its proposed motion to dismiss this case. Doc. 6. �at same day, the Court directed

Plaintiﬀ to respond to USCIS’ arguments. On November 9, Plaintiﬀ responded.

         Having considered the arguments put forward by Plaintiﬀ and USCIS, the Court ﬁnds

that a premotion conference is unnecessary and grants USCIS leave to ﬁle its motion to dismiss

the complaint. USCIS’ motion is due December 7, Plaintiﬀ’s response to the motion is due

January 4, 2021, and USCIS’ reply is due January 18, 2021.

         Chambers will mail a copy of this Order to Plaintiﬀ at 250 West 50th Street, Apt. 19K,

New York, N.Y. 10019.

         It is SO ORDERED.


Dated:    November 9, 2020
          New York, New York

                                                             EDGARDO RAMOS, U.S.D.J.
